Case 16-32472-KRH       Doc 31      Filed 09/14/18 Entered 09/14/18 15:07:32           Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division

   IN RE:                                       )
                                                )
   ROSINA DENISE COOK                           )       Case No. 16−32472−KRH
                                                )       Chapter 13
                          Debtor                )


                             AMENDED MOTION TO INCUR DEBT

            COMES NOW, the Debtor, by counsel, and as and for her Motion to Incur Debt, states as

   follows:

            1.     The Debtor filed this case under Chapter 13 of the U.S. Bankruptcy Code on May

   16, 2016.

            2.     The Debtor has applied for and Movement Mortgage, LLC has pre-approved a

   FHA fixed-rate home mortgage to the Debtor in the amount of $354,815.00 plus interest

   estimated at 5.250% and APR estimated at 6.268% to be repaid with 360 equal monthly

   payments of around $2,519.79 for the principal, interest, taxes, and insurance. The Pre-approval

   Letter is attached hereto as Exhibit A and the Approximate Loan Cost Illustration is attached

   hereto as Exhibit B and are incorporated herein by this reference.

            3.     The Debtor has entered into a contract (“Contract”) to purchase the property

   (“Property”) located at 5149 Virgil Drive, Henrico, Virginia 23231, which is also described as

   Lot 18, Section D in the Community of Mansfield Woods in the County of Henrico.

            4.     On February 22, 2019, or as soon thereafter as may be practicable, the Debtor

   intends to close on the Property per the terms of the Contract. Said Contract is attached hereto as

   Exhibit C and is incorporated herein by this reference.
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          5.      The Debtor needs to purchase the referenced property because she is the mother to

   four children, all whom live with her, and her family has outgrown their rental. The source of

   funds for the approximate $12,740.28 down payment will be from her increase in income due to

   two job promotions, child support, and tax refunds.

          6.      The purchase of the property is in the best interest of the Debtor and will facilitate

   her ability to perform under her Chapter 13 Plan filed herein.

          7.      The Debtor’s Chapter 13 Plan has been confirmed.

          WHEREFORE, the Debtor requests that the Court enter an Order approving the aforesaid

   loan on the terms stated herein and for such other relief as the Court may deem appropriate.



                                                         ROSINA DENISE COOK

                                                         By: /s/ James E. Kane
                                                                        Counsel

                                                         James E. Kane (VSB #30081)
                                                         KANE & PAPA, P.C.
                                                         1313 East Cary Street
                                                         Richmond, VA 23219
                                                         (804) 225-9500 (phone)
                                                         (804) 225-9598 (fax)
                                                         Counsel for Debtor
Case 16-32472-KRH        Doc 31     Filed 09/14/18 Entered 09/14/18 15:07:32          Desc Main
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                                     CERTIFICATE OF SERVICE

           I hereby certify that on September 14, 2018, I will electronically file the foregoing with

   the Clerk of Court using the CM/ECF system, which will then send a notification of such filing

   (NEF) to all counsel of record who have signed up to receive such notification and by first class

   mail to the parties on the attached list.


                                                        /s/ James E. Kane
                                                                   James E. Kane
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division

   IN RE:                                        )
                                                 )
   ROSINA DENISE COOK                            )       Case No. 16−32472−KRH
                                                 )       Chapter 13
                          Debtor                 )


                                        NOTICE OF MOTION

            The above Debtor has filed an Amended Motion to Incur Debt in the above matter.

          Your rights may be affected. You should read these papers carefully and discuss them
   with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
   may wish to consult one.)

           If you do not want the court to grant the relief sought in the motion, or if you want the
   court to consider your views on the motion, then, within twenty-one (21) days from the date of
   this Notice you or your attorney must:

            •      File with the court, at the address shown below, a written request for a hearing [or
                   written response pursuant to Local Bankruptcy Rule 9013-1(H)]. If you mail your
                   request for a hearing (or response) to the court for filing, you must mail it early
                   enough so the court will receive it on or before the date stated above, to:

                          Clerk of Court
                          United States Bankruptcy Court
                          701 East Broad Street
                          Richmond, VA 23219

            You must also mail a copy to:

                          James E. Kane, Esquire
                          Kane & Papa, P.C.
                          P.O. Box 508
                          Richmond, Virginia 23218-0508

            •      Attend a hearing to be scheduled at a later date. You will receive a separate notice
                   of hearing. If no timely response has been filed opposing the relief requested, the
                   court may grant the relief without holding a hearing.
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           If you or your attorney do not take these steps, the court may decide that you do not
       oppose the relief sought in the motion or objection and may enter an order granting that
       relief.

   Dated: September 14, 2018                                   ROSINA DENISE COOK


                                                        By: /s/ James E. Kane
                                                                       Counsel


                                                        James E. Kane (VSB #30081)
                                                        KANE & PAPA, P.C.
                                                        1313 East Cary Street
                                                        Richmond, VA 23219
                                                        (804) 225-9500 (phone)
                                                        (804) 225-9598 (fax)
                                                        Counsel for Debtor



                                     CERTIFICATE OF SERVICE

           I hereby certify that on September 14, 2018, I will electronically file the foregoing with

   the Clerk of Court using the CM/ECF system, which will then send a notification of such filing

   (NEF) to all counsel of record who have signed up to receive such notification and by first class

   mail to the parties on the attached list.


                                                        /s/ James E. Kane
                                                                   James E. Kane
      Exhibit A
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            Date Issued: September 12, 2018
            Congratulations Rosina Denise Cook, I am thrilled to let you know that you
            have been issued a Pre-Approval!

            Movement's Pre-Approval is a little different than the industry standard
            Pre-Approval or Pre-Qualification. Receiving this document means that one of
            our experienced Underwriters has reviewed your income and credit
            documentation and made a decision that you are pre-approved to purchase
            your new home, based on the following terms:




              PROPOSED LOAN TERMS

              Address: tbd, Henrico, VA 23231
              Loan Type: FHA                         Loan Amount: $354,815.00

              Purchase Price: $364,008.00            Expiration Date: 8/7/2018



            At Movement, we're on a mission to love and value people by leading a
            Movement of Change in our industry. That means guiding you and your real
            estate agent through your home purchase. If you have any questions or
            concerns, I'm here to help.

            Sincerely,

            Jennifer Loth
            Loan Officer | 186040
            jennifer.loth@movement.com | (804)381-0847x11847



www.movement.com                                    8720 Stony Point Pkwy, 200, 250                       Page 1
                                                         Richmond, VA 23235



f5510p1 05/25/18 sssm pd:9/12/18



                                                          2562779-5510-1-2-199
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             This Pre-approval is for loan amount of $354,815.00 based on a sales price of $364,008.00.

             An underwriter has reviewed certain information provided by you and is issuing this Pre-approval based upon this
             information. This Pre-approval is subject to the verification of the accuracy of the information submitted, your
             financial condition and your credit worthiness not materially changing after such verification and the identification
             of a subject property (if one has not already been identified) that meets Movement's appraisal guidelines.
             Additionally, a final Mortgage Loan Approval will only be issued upon a review and approval of a complete loan
             application, appraisal, title report, and other supporting documentation as may be required by your underwriter or
             Movement's underwriting guidelines.

             When we receive a completed application for your mortgage loan and complete the required remaining
             verifications (outlined above), Movement will set an estimated Closing Date based upon your request and an
             estimate of the time that it will take to finish processing and underwriting your mortgage loan application. Please
             be advised that any Closing Date is an estimate and while Movement will make reasonable efforts to meet the
             estimated Closing Date, events may occur that may require that your closing be delayed.

             If you have any questions about this letter or the status of pre-approval, please call me directly at
             (804)381-0847x11847. All of us here at Movement appreciate the opportunity to earn your business.

             VA - MLO-304VA | Movement Mortgage, LLC supports Equal Housing Opportunity. NMLS ID #39179
             (www.nmlsconsumeraccess.org) | 877-314-1499. Movement Mortgage, LLC is licensed by AL # 21022, AK # AK39179, AZ #
             0918544, AR # 105002, “CA Department of Business Oversight under the California Residential Mortgage Lending Act” #
             4131054, "CO Regulated by Division of Real Estate", CT # ML-39179, DE # 012644, District of Columbia Mortgage Dual
             Authority License #MLB39179, FL # MLD200 & MLD1360, GA # 23002, ID # MBL-8027 & RRL-9397, "Illinois Residential
             Mortgage Licensee" # MB.6760898, IN # 18121, IA # 2013-0023 & 88883410, “Kansas Licensed Mortgage Company” #
             SL.0026458, KY # MC85066, LA, ME # 39179, MD # 19094, MA Banker & Lender # MC39179, MI # FR0018717 &
             SR0020189, MN # MN-MO-39179, “Mississippi Dept of Banking and Consumer Finance" # 39179, MO # 16-2096, NE, NV #
             3402 & 3401, Licensed by the New Hampshire Banking Department 20985-MB, “Licensed by the N.J. Department of Banking
             and Insurance", NM, “Licensed Mortgage Banker-NYS Banki ng Dept” #B500997, NC # L-142670, ND # MB102519, OH #
             SM.501922.000 & MB.804187.000, OK # ML002646, OR # ML-5081, PA # 34374, Rhode Island Licensed Lender, Broker
             and Servicer 20153194LL & 20153195LB & 20153196LS, SC # MLS-39179, SD # ML.05007, TN # 112748, TX, UT #
             7773921, VT #M 6862 & 39179-1, VA # MC-5112, WA # CL-39179, WV # MB-32019 & ML-32020, WI # 39179BA &
             39179BR. Interest rates and products are subject to change without notice and may or may not be available at the time of
             loan commitment or lock-in. Borrowers must qualify at closing for all benefits. “Movement Mortgage” is a registered trademark
             of the Movement Mortgage, LLC, a Delaware limited liability company. 8024 Calvin Hall Rd, Indian Land, SC 29707.




www.movement.com                                            8720 Stony Point Pkwy, 200, 250                                                  Page 2
                                                                 Richmond, VA 23235



f5510p2 09/22/17 ss pd:9/12/18



                                                                  2562779-5510-2-2-199
            Exhibit B
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                                                                    Your actual rate, payment, and costs
                                                                    could be higher. Get an official Loan
                                                                    Estimate before choosing a loan.

            Date Prepared:       September 14, 2018                        Loan Number: 2562779
            Applicant(s):        Rosina Denise Cook
            Programs:            FHA 30
            Loan Officer:        Jennifer Loth                             Cell Phone:       (804)380-7182
            NMLS:                186040

                                          APPROXIMATE LOAN COST ILLUSTRATION


            The information provided below regarding Approximate Cost of Closing Fees, Approximate Total Funds
            Needed To Close and the Approximate Total Monthly Payment (collectively referred to as Approximate Loan
            Cost Illustration) are only approximations. This is an Approximate Loan Cost Illustration and is NOT a
            mortgage loan approval or commitment to lend.

                                                 APPROXIMATE COST OF CLOSING FEES
              Appraisal                                                                                                    $600.00
              Credit Report Fee                                                                                             $75.00
              Underwriting Fee                                                                                             $895.00
              Flood Certification Fee                                                                                        $7.00
              IRS Transcript Fee                                                                                            $20.00
              Examination                                                                                                  $100.00
              Settlement Service                                                                                           $425.00
              Lenders Title Insurance                                                                                    $1,018.64
              Document Preparation                                                                                         $100.00
              Closing Protection Letter                                                                                     $20.00
              Abstract                                                                                                     $150.00
              Binder                                                                                                       $100.00
              Recording Deed                                                                                                $43.00
              Transfer Taxes                                                                                               $619.03
              Grantor Tax County                                                                                           $192.68
              Transfer Taxes                                                                                             $1,857.09
              Grantor Tax County                                                                                           $182.00
              Recording Mortgage                                                                                            $76.00
              Grantor Tax State                                                                                            $192.68
              Grantor Tax State                                                                                            $182.00
                                                                      Total Approximate Cost of Closing Fees            $6,855.12
             APPROXIMATE COST OF PREPAID INTEREST AND ESCROW/RESERVES
              Interest for 30 days @ $51.04 per day                                                                      $1,531.20
              Hazard Insurance Premium                                                                                     $591.96
              Hazard Insurance Escrows                                                                                      $98.66
              County Property Taxes                                                                                        $791.73
              Aggregate Adjustment                                                                                        -$246.68
                                                      Total Approximate Cost of Prepaid Interest and Escrows            $2,766.87
                                                              Total Approximate Cost of Settlement Charges              $9,621.99

              APPROXIMATE TOTAL OF FUNDS NEEDED
                                                                              APPROXIMATE TOTAL MONTHLY PAYMENT
              TO CLOSE
              Purchase Price/Total Liens                    $364,008.00      Interest Rate                                 5.250%
              less Earnest Money/Credits                      $1,000.00      APR                                           6.268%
              less Total Loan Amount                        $354,815.00      Maturity Term                  360 mos        30 yrs
              less Secondary Financing
              Amount
                                                                  $0.00
               less Borrower's closing cost                                  Principal & Interest (or Interest
               paid by Seller                                  $749.36       Only payment)                               $1,959.30
               plus Mortgage Insurance or                                    Other Financing
               Funding Fee                                                   (P&I)                                          $0.00
                                                              $3,548.16
              plus Approximate Closing                                       Real Estate Taxes                            $263.91
              Fees Pd by Borrower                                            Insurance                                     $49.33
                                                              $6,855.12
              plus Approximate Pre-paid                                      Homeowners Association
              Items/Reserves                                                 (if applicable)                                $0.00
                                                              $2,766.87
              less POC fees                                                  Mortgage Insurance (if applicable)           $247.25
              paid by Borrower                                    $0.00      Other                                          $0.00
              Total Approximate Funds                                        Total Approximate Monthly
                       needed to close                     $20,613.79                          Payment                  $2,519.79

             Down Payment        $12,740.28                      3.50%

            The Total Approximate Monthly Payment is based on the principal amount, loan term and interest rate
            shown and assumes a fixed rate loan. Your interest rate may be different and will be determined after you
            apply for a loan.




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              Case 16-32472-KRH                Doc 31    Filed 09/14/18           Entered 09/14/18 15:07:32     Desc Main
Label Matrix for local noticing                    Capital One Auto Finance
                                                      Document           Page 17 of 19            Capital One Auto Finance c/o AIS Portfolio S
0422-3                                             P.O. Box 201347                                P.O. BOX 4360
Case 16-32472-KRH                                  Arlington, TX 76006-1347                       Houston, TX 77210-4360
Eastern District of Virginia
Richmond
Tue May 8 13:42:41 EDT 2018
Capital One Auto Finance c/o AIS Portfolio S       Henrico County, Virginia                       United States Bankruptcy Court
4515 N Santa Fe Ave. Dept. APS                     HENRICO CONTY                                  701 East Broad Street
Oklahoma City, OK 73118-7901                       P.O. BOX 90775                                 Richmond, VA 23219-1888
                                                   HENRICO, VA 23273-0775


AMCA                                               Account Control Systems, Inc.                  Ashley Funding Services, LLC its successors
P.O. Box 1235                                      85 Chestnut Ridge Rd.                          assigns as assignee of Laboratory
Elmsford, NY 10523-0935                            Suite 113                                      Corporation of America Holdings
                                                   Montvale, NJ 07645-1836                        Resurgent Capital Services
                                                                                                  PO Box 10587
                                                                                                  Greenville, SC 29603-0587
Bon Secours Memorial Regional Med Ctr              Bureaus Investment Group Portfolio No 15 LLC   COUNTY OF HENRICO, VIRGINIA
c/o Patrick F. Heinen, Esq.                        c/o Recovery Management Systems Corp           ANDREW R. NEWBY
Spinella, Owings & Shaia, P.C.                     25 SE 2nd Avenue Suite 1120                    ASSISTANT COUNTY ATTORNEY
8550 Mayland Dr.                                   Miami FL 33131-1605                            P.O. BOX 90775
Richmond, VA 23294-4704                                                                           HENRICO, VIRGINIA 23273-0775

Capital One                                        Capital One Auto Finance                       Capital One Auto Finance, a division of Capi
Po Box 30285                                       7933 Preston Rd                                4515 N Santa Fe Ave. Dept. APS
Salt Lake City, UT 84130-0285                      Plano, TX 75024-2302                           Oklahoma City, OK 73118-7901



Capital One Auto Finance, c/o Ascension Capi       Capital One Bank (USA), N.A.                   Comenity Bank/Victoria Secret
P.O. Box 201347                                    PO Box 71083                                   Po Box 18215
Arlington, TX 76006-1347                           Charlotte, NC 28272-1083                       Columbus, OH 43218-0000



Commonwealth of Virginia                           County of Henrico, VA                          Department Store National Bank
Department of Taxation                             PO Box 90775                                   c/o Quantum3 Group LLC
P.O. Box 2156                                      Dept of Finance                                PO Box 657
Richmond, VA 23218-2156                            Henrico, VA 23273-0775                         Kirkland, WA 98083-0657


Dr. Overton Wiley Kirchmer                         ECMC                                           Ecmc
10410 Ridgefield Pkwy.                             PO Box 16408                                   1 Imation Place
Henrico, VA 23233-3500                             St. Paul, MN 55116-0408                        Bldg 2
                                                                                                  Oakdale, MN 55128-3422


FMS, Inc.                                          Firstsource Advantage, LLC                     (p)FOCUSED RECOVERY SOLUTIONS
PO Box 707600                                      PO Box 628                                     9701 METROPOLITAN COURT
Tulsa, OK 74170-7600                               Buffalo, NY 14240-0628                         STE B
                                                                                                  RICHMOND VA 23236-3690


Ginny’s                                            Ginnys/Swiss Colony Inc                        Glasser & Glasser
c/o Creditors Bankruptcy Service                   1112 7th Ave                                   580 E. Main St.
P.O. Box 800849                                    Monroe, WI 53566-1364                          Suite 600
Dallas, TX 75380-0849                                                                             Norfolk, VA 23510-2322
              Case 16-32472-KRH                Doc 31      Filed 09/14/18        Entered 09/14/18 15:07:32              Desc Main
Henrico Area Mental Health                           IC Systems,
                                                        Document  Inc       Page 18 of 19                 (p)INTERNAL REVENUE SERVICE
10299 Woodman Rd.                                    444 Highway 96 East                                  CENTRALIZED INSOLVENCY OPERATIONS
Glen Allen, VA 23060-4419                            Po Box 64378                                         PO BOX 7346
                                                     St Paul, MN 55164-0378                               PHILADELPHIA PA 19101-7346


Internal Revenue Service                             MCV HOSPITAL                                         MCV Physicians
PO Box 7346                                          P O BOX 980462                                       PO Box 91747
Philadelphia, PA 19101-7346                          RICHMOND, VA 23298-0462                              Richmond, VA 23291-9747



MIDLAND FUNDING LLC                                  Midland Funding                                      POM Recoveries
PO Box 2011                                          2365 Northside Dr                                    PO Box 602
Warren, MI 48090-2011                                Suite 300                                            Lindenhurst, NY 11757-0602
                                                     San Diego, CA 92108-2709


Pediatric Center                                     (p)PORTFOLIO RECOVERY ASSOCIATES LLC                 Professional Bureau of Collect
10571 Telegraph Rd.                                  PO BOX 41067                                         P.O. Box 4157
Suite 110                                            NORFOLK VA 23541-1067                                Englewood, CO 80155-4157
Glen Allen, VA 23059-4652


Receivables Performance Mgmt                         Synchrony Bank/PayPal Cr                             Synchrony Bank/Walmart
Attn: Bankruptcy                                     Attn: Bankruptcy                                     Attn: Bankruptcy
Po Box 1548                                          Po Box 103104                                        Po Box 103104
Lynnwood, WA 98046-1548                              Roswell, GA 30076-9104                               Roswell, GA 30076-9104


TD Bank USA, N.A.                                    Target                                               The Bureaus Inc.
C O WEINSTEIN & RILEY, PS                            C/O Financial & Retail Services                      650 Dundee Rd
2001 WESTERN AVENUE, STE 400                         Mailstop BT PO Box 9475                              Ste 370
SEATTLE, WA 98121-3132                               Minneapolis, MN 55440-9475                           Northbrook, IL 60062-2757


Virginia Department of Tax                           Visa Dept Store National Bank                        Wells Fargo Auto
P.O. Box 1115                                        Attn: Bankruptcy                                     Po Box 29704
Richmond, VA 23218-1115                              Po Box 8053                                          Phoenix, AZ 85038-9704
                                                     Mason, OH 45040-8053


Wells Fargo Bank, N.A. - Wells Fargo Auto Fi         James E. Kane                                        Rosina Denise Cook
PO Box 29706                                         Kane & Papa, PC                                      6464 Springcrest Lane
Phoenix, AZ 85038-9706                               1313 East Cary Street                                Henrico, VA 23231-5324
                                                     P.O. Box 508
                                                     Richmond, VA 23218-0508

Suzanne E. Wade
P.O. Box 1780
Richmond, VA 23218-1780




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
              Case 16-32472-KRH               Doc 31       Filed 09/14/18        Entered 09/14/18 15:07:32              Desc Main
Focused Recovery Solutions                           Internal Revenue Service
                                                        Document           Page 19 of 19                  Portfolio Recovery
9701-Metropolitan Ct                                 Kansas City, MO 64999-0002                           Attn: Bankruptcy
Ste B                                                                                                     Po Box 41067
Richmond, VA 23236-0000                                                                                   Norfolk, VA 23541-0000


(d)Portfolio Recovery Associates, LLC
POB 41067
Norfolk VA 23541




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Wellsfargo bank n.a.                              End of Label Matrix
                                                     Mailable recipients    54
                                                     Bypassed recipients     1
                                                     Total                  55
